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                    Exhibit B
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From:                            Edwards, John
Sent:                            Wednesday, June 7, 2023 2:33 PM
To:                              Dillingham, Emily
Cc:                              Sullivan, Olivia; Shah, Bethany; Glover, Joel
Subject:                         RE: Smartmatic v. Herring Networks; Follow-up from call



Here’s what we can do right now on the subpoenas to the following: Courtney Torres Consulting; The Issues
and Crisis Group; Scott Circle Communications; and SEC Newgate LLC. We’ll extend the deadline until June 23rd
for responses/objections and document production, with an extension until June 30th for the deposition
subpoenas. If there is a need to confer again closer to these deadlines, we can do so based on the status of
production at that time when we all have more information.

We are happy to work with you, but also want to move things along expeditiously. Having said that, we will
also work in good faith to meet our discovery obligations, including meet and confers to discuss status of
production on both sides.

Thanks. ‐ John

From: Dillingham, Emily <EDillingham@beneschlaw.com>
Sent: Wednesday, June 7, 2023 12:06 PM
To: Edwards, John <jedwards@jw.com>
Cc: Sullivan, Olivia <OSullivan@beneschlaw.com>
Subject: RE: Smartmatic v. Herring Networks; Follow‐up from call

                               **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
Much appreciated, John – thanks for the quick response and for your agreement to an extension. As Olivia mentioned,
we are working in good faith to get documents collected/reviewed/produced as quickly as possible.




                         EmilyN.Dillingham
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From: Edwards, John <jedwards@jw.com>
Sent: Wednesday, June 7, 2023 12:05 PM
To: Dillingham, Emily <EDillingham@beneschlaw.com>
Cc: Sullivan, Olivia <OSullivan@beneschlaw.com>
Subject: RE: Smartmatic v. Herring Networks; Follow‐up from call

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Thanks for the response, Emily.

I promised you a response on the subpoena extension request and I’ll have a proposal to you with respect to a
new deadline this afternoon; in the meantime, no worries about today’s deadline.

From: Dillingham, Emily <EDillingham@beneschlaw.com>
Sent: Wednesday, June 7, 2023 11:54 AM
To: Edwards, John <jedwards@jw.com>
Cc: Sullivan, Olivia <OSullivan@beneschlaw.com>
Subject: RE: Smartmatic v. Herring Networks; Follow‐up from call

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John –

Smartmatic cannot agree to the filing of a sur‐reply. First, it is not proper to provide Smartmatic with such a short
timeframe to review and respond to this request. Second, an extension to June 9 does not address the prejudice caused
by OANN’s failure to produce documents or Smartmatic’s position that the additional requests should be informed by
the parties’ production. OANN is nowhere near substantial completion. If you really want to have a cooperative
relationship, as we discussed earlier today, Smartmatic will agree to provide supplemental requests within 30 days, but
we need to see OANN continue to make timely productions.

In the motion, you can represent that you discussed this with Smartmatic and Smartmatic’s response is as follows:
“Smartmatic objects to the filing of a sur‐reply, which is an extraordinary request on a routine motion seeking a brief
extension of time to file additional requests. OANN raised the sur‐reply with Smartmatic only this morning and asked for
a response within three hours.”

Alternatively, instead of a sur‐reply, OANN can simply abide by its prior representations and the parties can mutually
agree on a reasonable extension (such as the one proposed above), thereby avoiding burdening the Court with ongoing
motion practice.

Thank you,
Emily




                          Emily N. Dillingham
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From: Edwards, John <jedwards@jw.com>
Sent: Wednesday, June 7, 2023 11:29 AM
To: Dillingham, Emily <EDillingham@beneschlaw.com>; Sullivan, Olivia <OSullivan@beneschlaw.com>
Subject: RE: Smartmatic v. Herring Networks; Follow‐up from call


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Thanks Emily – if you could do so by noon ct, I would appreciate it. If we don’t hear back, we will put you down
as opposed.

From: Dillingham, Emily <EDillingham@beneschlaw.com>
Sent: Wednesday, June 7, 2023 10:56 AM
To: Edwards, John <jedwards@jw.com>; Sullivan, Olivia <OSullivan@beneschlaw.com>
Subject: RE: Smartmatic v. Herring Networks; Follow‐up from call

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John, we will be back to you in short order re: the motion for leave. Thanks for your patience.


                          Emily N. Dillingham
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From: Edwards, John <jedwards@jw.com>
Sent: Wednesday, June 7, 2023 9:37 AM
To: Dillingham, Emily <EDillingham@beneschlaw.com>; Sullivan, Olivia <OSullivan@beneschlaw.com>
Subject: RE: Smartmatic v. Herring Networks; Follow‐up from call

Hi Emily – good to meet you via email. We too hope we can all move forward in a cooperative fashion to the
extent possible. Attached is the draft sur‐reply and motion for leave – I would appreciate hearing back
whether opposed/unopposed to the leave motion by 10:30am ct, given that the issue is ripe now.

In terms of the 4 subpoenas to which an extension is requested, I will get back to you shortly, but as I told
Olivia, we are amenable to a reasonable extension of time to respond/produce (with a rolling production as
documents are available). And I will respond re: the Rule 45/30(b)(6) issue then as well.

Thanks. ‐ John

From: Dillingham, Emily <EDillingham@beneschlaw.com>
Sent: Wednesday, June 7, 2023 9:27 AM
To: Sullivan, Olivia <OSullivan@beneschlaw.com>; Edwards, John <jedwards@jw.com>
Subject: RE: Smartmatic v. Herring Networks; Follow‐up from call

                                 **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
Olivia, thanks for looping me in here, and John, thank you for reaching out. We are very much looking forward to getting
off on the right foot with your firm and working together collegially. We recognize, as I’m sure your team does, that
we’re all just doing our jobs here, and there’s no reason to make the discovery process more contentious than it already
will be.



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As Olivia mentioned, we’d like to see a draft of the sur‐reply before agreeing to it. While I don’t have an objection to sur‐
replies in general, given the tone this round of briefing has taken, we just want to ensure that we’re moving things
forward in a positive direction, which certainly seems like it is your goal as well.

And finally, thank you for your willingness to agree to an extension on the subpoena R&Os. One additional question –
would you be willing to agree to a brief stay of our responses for R&Os re: the Rule 45/30(b)(6) deposition topics until
your firm has had the opportunity to review the documents produced in response to the subpoenas? We won’t need a
significant additional amount of time, but we also recognize that the documents/R&Os you receive in response to the
document subpoenas may alter your strategy with moving forward with the depositions.

Please let us know, and again, thank you for reaching out and resetting things here. We truly appreciate it and will
reciprocate.

Best,
Emily


                           Emily N. Dillingham
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From: Sullivan, Olivia <OSullivan@beneschlaw.com>
Sent: Wednesday, June 7, 2023 9:20 AM
To: jedwards@jw.com
Cc: Dillingham, Emily <EDillingham@beneschlaw.com>
Subject: Smartmatic v. Herring Networks; Follow‐up from call

John,

I just spoke with Emily, the partner that is running the day‐to‐day for this matter, and she indicated that we need 30
days to produce documents in response to the subpoenas. If we can get the documents sooner, we will produce them
right away, and won't hold them until the 30‐day mark. We will also get responses and objections to you as soon as
possible, and in advance of the productions. Let us know if you are amenable to this.

With regard to the surreply, Emily would like to see a draft of it before we agree to anything. If you can send over a draft
when you have one, we can get back to you quickly.

Again, it was nice speaking to you, and I do hope that we can have a collegial and productive relationship the moving
forward.

Best,

Olivia



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